Case 1:21-cr-00229-RBJ Document 105-1 Filed 12/15/21 USDC Colorado Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Action No. 21-cr-00229-RBJ

 UNITED STATES OF AMERICA,

        Plaintiff,
 v.

 1. DAVITA INC.,
 2. KENT THIRY,

        Defendants.


           [PROPOSED] ORDER GRANTING UNITED STATES’ UNOPPOSED
                        MOTION FOR ENLARGEMENT

        This matter comes before the Court on the United States’ unopposed motion of December

 15, 2021, for a five-page enlargement of their omnibus motions in limine filing. The Court

 hereby grants the motion. Accordingly, it is

        ORDERED that the United States may file omnibus motions in limine not to exceed 20

 pages, consistent with otherwise-applicable rules and practice standards.

        So ORDERED, this ____ day of December, 2021.

                                                BY THE COURT:

                                                _______________________________
                                                THE HONORABLE R. BROOKE JACKSON
                                                UNITED STATES DISTRICT JUDGE
